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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

DYLAN EGLESTON, individually and
on behalf of all others similarly situated,
      Plaintiff,
v.                                                 Case No. 1:20-cv-106-AW-GRJ
UNIVERSITY OF FLORIDA BOARD
OF TRUSTEES, as the public body
corporate of University of Florida, and
FLORIDA BOARD OF GOVERNORS
FOUNDATION, INC.,
     Defendants.
_______________________________/
                             ORDER CLOSING FILE

      Plaintiff has filed a notice of voluntary dismissal. ECF No. 36. The notice is

effective without an order. See Fed. R. Civ. P. 41(a)(1)(A)(i); Matthews v. Gaither,

902 F.2d 877, 880 (11th Cir. 1990). This order confirms that the case has been

dismissed. The clerk will close the file.

      SO ORDERED on September 1, 2020.


                                        s/ Allen Winsor
                                        United States District Judge
